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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

Docket No. 2:06-cv-10623

In re: Vioxx® * MDL Docket No. 1657
Product Liability Litigation *
* SECTION L
This document relates to: *
*
Marjorie E. Burch, et al. * JUDGE FALLON
v *
Merck & Co., Inc., et al. * MAGISTRATE JUDGE KNOWLES
*
Only with regard to: *
Michael Richardson *
*
*
*
*

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Michael Richardson in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own

costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
